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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

NATHSON E. FIELDS,                           )
    Plaintiff,                               )
                                             )       No. 10 CV 1168
       v.                                    )
                                             )       Hon. Matthew F. Kennelly
CITY OF CHICAGO et al.,                      )
     Defendants.                             )

            CORRECTED PLAINTIFF’S (PROPOSED) MOTIONS IN LIMINE

         Plaintiff Nathson Fields, by his attorneys, after conferring with counsel for the

City Defendants and determining that the following matters are actually in dispute1,

respectfully requests an order in limine barring the following evidence and arguments

from trial.

1.       To Bar Expert Testimony.

         Defendants have disclosed numerous witnesses under Federal Rule of Civil

Procedure 26(a)(2), which requires disclosure of any witness a party may use at trial to

present evidence under Federal Rule of Evidence 702, 703, or 705. Fed. R. Civ. P. 26.

         Expert testimony is admissible under Federal Rule of Evidence 702 only if the

witness is “qualified as an expert by knowledge, skill, experience, training, or

education,” and “the expert’s scientific, technical, or other specialized knowledge will


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  Plaintiff is filing this motion in limine according to this Court’s schedule, however, Defendants
have not provided counsel with their witness list despite being asked to exchange witness lists
and exhibit lists on the same day that Plaintiff provided a draft of the final pretrial order
(February 17th). Instead, counsel for Defendants stated they would provide those lists one week
after they receive the draft pretrial order. Therefore Plaintiff anticipates upon seeing the
Defendants’ actual witness list that there might be other motions in limine they would like to
file.
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help the trier of fact to understand the evidence or to determine a fact in issue,” and the

testimony is based on sufficient facts or data, the product of reliable principles and

methods, and the expert has reliably applied the principles and methods to the facts of

the case. FRE 702.

       Defendants’ disclosures under Rule 26(a)(2)(A) include four former El Rukn

members, five former Chicago Police—including the three police officer Defendants in

this case—and four current and former Assistant State’s Attorneys who prosecuted Mr.

Fields. Defendants disclosed two additional witnesses under Rule 26(a)(2)(B)2. As set

forth fully below, none of these proposed witnesses qualify to give opinion testimony

under Federal Rules of Evidence 702, 703, and 705, and should be barred from testifying

in this case.

       a. The “Expert” Testimony of Tramell Davis, Derrick Kees, Earl Hawkins,
          and Jackie Clay.

       In the motions conference, Defendants’ counsel indicated that “depending on

how the evidence comes in,” they intend to call Trammell Davis, Derrick Kees, Earl

Hawkins and Jackie Clay as witnesses. Defendants’ Rule 26(a)(2)(A) disclosures indicate

that “to the extent it is determined that the witnesses’ testimony is considered opinion

testimony under Federal Rule of Evidence 702, 703, or 705,” Davis, Kees, Hawkins, and

Clay are identified as “opinion witnesses” to testify about the transcription, translation,

or interpretation of the “El Rukn code” or the identity of the voices contained in

recordings of Jeff Fort and others having conversations in which Mr. Fields is not a

participant. Exhibit C, pp. 1-2. Even if this Court were to find that these witnesses are


2 Attached hereto as Exhibit C.




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qualified to “interpret” or “translate” the “El Rukn code” on these recordings, such

interpretations are not relevant and do nothing to “help the trier of fact to understand

the evidence or to determine a fact in issue” under Rule 702.

       The main subject matter of the offered recordings is the purported bribe of

former Judge Maloney. In addition, Derrick Kees testified at Fields’s Innocence

Certificate hearing that his interpretation of one of the calls—regarding Anthony

Sumner—was indicative of a pattern of El Rukn witness intimidation. This evidence is

not relevant to any issue presented in this case. Even if the Court were to find that the

wiretap recordings are even somewhat relevant, this evidence should be barred under

Federal Rule of Evidence 403, which provides that relevant evidence “may be excluded

if its probative value is substantially outweighed by the danger of unfair prejudice,

confusion of the issues, or misleading the jury, or by considerations of undue delay,

waste of time, or needless presentation of cumulative evidence.” See generally United

States v. Vretta, 790 F.2d 651, 655 (7th Cir. 1986); Fed. R. Evid. 403.

       Furthermore, whether there was an attempted bribe to Judge Maloney is not a

“fact in issue” (See Motion 4 below). In addition, testimony of alleged witness

intimidation by other El Rukns and attempting to tie such conduct to Fields without a

shred of evidence runs a very serious risk of causing unfair prejudice to Mr. Fields by

misleading the jury as to what is actually at issue in this case. Under Rule 403, evidence

is unfairly prejudicial only if it “will induce the jury to decide the case on an improper

basis, commonly an emotional one, rather than on the evidence presented.” Vretta, 790

F.2d at 655 (7th Cir. 1986). Accordingly, this evidence should be barred.




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          b. The “Expert” Testimony of David O’Callaghan, Joseph Murphy, Richard
             Kolovitz, Daniel Brannigan, and Thomas Richardson.

          Again, “[t]o the extent any of [their] testimony is considered to be opinion

testimony under Federal Rule of Evidence 702, 703, or 705,” Defendants have indicated

that they intend to offer the testimony of Defendants O’Callaghan, Murphy, and

Brannigan. Exhibit C, pp. 2-3. Each Defendant proposes to testify about his “knowledge

of the El Rukn street gang, his testimony that the Smith/Hickman homicides were

consistent with the pattern and practice of El Rukn homicides and violence that he

investigated as a member of the Chicago Police Department and the El Rukn Task

Force, his testimony concerning El Rukn intimidation of witnesses and others, and his

belief Nathson Fields committed the Smith/Hickman murders and that there was

probable cause to arrest and prosecute Fields for those murders.” Exhibit C, pp. 2-3.

Both Kolovitz and Richardson are expected to testify about matters involving the El

Rukns generally, including witness intimidation, his belief Nathson Fields committed

the Smith/Hickman murders, and that there was probable cause to arrest and prosecute

Fields for those murders. Exhibit C, pp. 2-3. These proposed opinions of O’Callaghan,

Brannigan, Murphy, Richardson, and Kolovitz are inadmissible for at least three

reasons.

          First, the witnesses’ purported expert opinions about the El Rukns and its

various members’ bad acts are not relevant to any issue in this case, and are not

necessary to “help the trier of fact to understand the evidence or to determine a fact in

issue.”




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       Second, witnesses may not testify in the form of legal conclusions, such as “that

there was probable cause to arrest and prosecute Fields,” as these witnesses intend to

do. Such testimony should be barred, as it is “the role of the judge, not an expert

witness, to instruct the jury on the applicable principles of law, and it is the role of the

jury to apply those principles of law to the facts in evidence. As a general rule,

accordingly, an expert may not offer legal opinions.” Jimenez v. City of Chicago, 732 F.3d

710, 721 (7th Cir. 2013). Accordingly, the proposed testimony should be barred.

       Third, to allow a Defendant and/or a fact witness to also testify as an expert

witness would unfairly bolster their credibility in the eyes of the jury.

       Furthermore, in order to establish their expert qualifications, Defendants will

testify as to their background and experience. To the extent that Defendants will testify

about commendations, awards, lack of citizen complaints, and related topics, Plaintiff

moves, under Rule 403 and 404 to bar such improper bolstering. This evidence is not

relevant and would amount to improper propensity evidence if allowed. See Fed. R.

Evid. 404(a).

       Defendants’ commendations are not probative of Plaintiff’s allegations or any

related defenses. Evidence of this kind would serve the improper function of providing

evidence of a Defendant’s character for the purpose of proving action in conformity

therewith. See Charles v. Cotter, 867 F.Supp. 648, 659 n.6 (N.D. Ill. 1994). Unlike proper

Rule 404(b) evidence, such evidence does not go to motive, opportunity, intent,

preparation, plan, knowledge, or absence of mistake or accident. Id.




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       c. The “Expert” Testimony of Larry Wharrie, David Kelley, Randy Rueckert,
          and Brian Sexton. Bar certain opinions of State’s attorneys or U.S. Attorney

       Defendants have “reserved the right” to call as experts former ASAs Wharrie,

Kelley, and Rueckert, and current ASA Sexton. Exhibit C, p. 4 During the motions

conference, Defendants’ counsel indicated that if the ASAs are asked if there was

probable cause to arrest Mr. Fields, or if they are asked about the legal process, they are

qualified to give expert opinions. This is not proper testimony under Rule 702. Rather,

it is the role of the judge, not an expert witness, to instruct the jury on the applicable

principles of law, and it is the role of the jury to apply those principles of law to the

facts in evidence. As noted in section 1(b) above, it is “as a general rule, accordingly,

that an expert may not offer legal opinions.” Jimenez, 732 F.3d at 721. Accordingly, the

ASAs proposed testimony should be barred.

       d. The Expert Testimony of William Allee

       The Federal Rules and the Daubert case law provide the standard for the

admissibility of expert testimony. Here, the proposed testimony of William Allee falls

well short of offering any opinion admissible under Rule 702.

       The admissibility of expert testimony is governed by Rule 702 and Daubert v.

Merrell Do Pharms., Inc. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). Expert

testimony is admissible under Rule 702 only if the witness is “qualified as an expert by

knowledge, skill, experience, training, or education,” “the expert’s scientific, technical,

or other specialized knowledge will help the trier of fact to understand the evidence or

to determine a fact in issue,” the testimony is based on sufficient facts or data, the




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product of reliable principles and methods, and the expert has reliably applied the

principles and methods to the facts of the case. Fed. R. Evid. 702.

       An expert’s testimony must bear upon his field of expertise. Hall, 93 F.3d at 1343.

And so the district court, in analyzing expert testimony for admissibility, must “rule out

subjective belief or unsupported speculation.” Porter v. Whitehall Laboratories, Inc., 9

F.3d 607, 613 (7th Cir. 1993) (quotation omitted). In other words, the expert must be

able to aid the jury in understanding a disputed fact at issue in the case. Hall, 93 F.3d at

1342, 1343 (“Unless the expertise adds something, the expert at best is offering a

gratuitous opinion, and at worst is exerting undue influence on the jury that would be

subject to control under Rule 403.”).        In general, “an expert may not offer legal

opinions.” See generally Jimenez v. City of Chicago, 732 F.3d 710, 721 (7th Cir. 2013) (“It is

the role of the judge, not an expert witness, to instruct the jury on the applicable

principles of law, and it is the role of the jury to apply those principles of law to the

facts in evidence.    As a general rule, accordingly, an expert may not offer legal

opinions.”). In short, Mr. Allee’s opinion fails this test.

       Mr. Allee’s opinion contains more legal conclusion than expert opinion. He

opines on the ultimate issue in Plaintiff’s Monell claim: “CPD policy in this regard

[providing entire case files to both prosecution and defense] is lawful and sound.”

Exhibit A, p.6. He opines on causation issue for the constitutional violations in the first

trial: Based on this evidence, Fields’s claim the police caused him to have received an

unfair trial by failing to tell Fields about a bribe he was complicit in is without merit.”

Exhibit A, p.7. He offers legal conclusion on Brady materiality: “As a result it is my




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further opinion based of [sic] the facts of the entire case developed by law enforcement

in the mid to late 1980’s, that the subject file does not contain exculpatory or material

information, but contains material that would have had no bearing on the outcome of

this case.” Exhibit A, p.10. Further, he offers opinions that are not beyond the ken of

any jury member: “[T]he world is not perfect and, in my opinion, unintentional, non-

conspiratorial events can and do happen.”         Exhibit A, p.7.     Because Mr. Allee’s

proposed testimony falls woefully short of the requirements of Rule 702, his testimony

should not be permitted.

       e. The Expert Testimony of Thomas McMahon.

          Defendants’ have also disclosed Thomas L. McMahon, a Chicago Police

Department veteran, as an expert witness on their behalf. McMahon’s report, a copy of

which is attached as Exhibit B, makes clear that his purpose at trial will be to provide a

history of the evils of the El Rukns in an attempt to smear the Plaintiff’s character by

association. His proposed testimony is not admissible under Rules 702, 404, and 403;

thus, this court should bar it.

          In brief, McMahon’s report describes the history and structure of the El

Rukns; their religious affiliation (or alleged lack thereof); their alleged “intimidation of

witnesses and corruption of the judicial process,” Exhibit B, p. 14; and their “violent acts

and murders.” Exhibit B, p. 20. At best, the report offers wildly prejudicial accounts of

the prior criminal activity and other bad acts of the El Rukns while providing little or no

probative value. At worst, it is a cynical attempt to introduce inadmissible hearsay,




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prior crimes or bad acts, and other evidence generally inadmissible under Rules 802,

403, and 404—all under the guise of expert testimony.

          In this case, Defendants seek to introduce mountains of evidence supporting

the criminal activities of the El Rukns. As discussed below, most if not all of this

evidence is extremely prejudicial and irrelevant to the issues in this case. See Motion to

exclude Gang References below. At its core, McMahon’s report indicates the

Defendants’ overarching strategy—to allege various evils associated with the El Rukns

as a justification for their railroading Mr. Fields.      In his report, McMahon seems

confused as to the issues here; instead, most of it would more probative value in a case

where the issue was, say, the status of the El Rukns as a religious organization. See

Faheem-El v. Lane, et al., 657 F. Supp. 638 (C.D. Ill. 1986). The rest of the report attempts

to smear Mr. Fields by listing various crimes and other bad acts attributed to the El

Rukns generally, and to Mr. Fields. Exhibit B, pp. 14-25. And throughout most of the

report, it is unclear how McMahons opinions are supported, how they might be tested

for their reliability, or how they might be useful to the jury in determining the

Defendants’ liability or damages here.

       With so little probative value, McMahon’s report is a good starting point to pare

down the host of prejudicial evidence of gang activity. Therefore, this Court should

exclude it under Rule 702, 403, and 404.




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2.     To Bar Alleged Prior Bad Acts

       a. Evidence of Plaintiff’s 1972 Conviction.

       Over forty years ago, in 1972, Mr. Fields was convicted of murder under a theory

of accountability. This conviction and the details of Mr. Fields’s trial are not relevant to

the issues in this case and are not admissible under Federal Rules of Evidence 402, 403,

404, or 609. In short, evidence of this unrelated felony conviction is more prejudicial

than probative.    It is not relevant for issues of liability of or damages, nor is it

admissible for impeachment.

       The use of Mr. Fields’s prior murder conviction has no probative value at all.

Rule 404 makes clear that evidence of prior crimes “is not admissible to prove the

character of a person in order to show action in conformity therewith.” Fed. R. Evid.

404(b), See also Kunz v. DeFelice, 538 F.3d 667, 674 (7th Cir. 2008) (Use of evidence to

illustrate “a consistent pattern of criminality…is propensity by another name…and

propensity is a forbidden basis for admitting evidence.”).

       Here, the only relevance of Mr. Fields’s prior murder conviction is to establish a

propensity to commit the Smith/Hickman murder that gave rise to this suit. This is

precisely what Rule 404(b) forbids. The purpose of Rule 404 is to exclude a type of

evidence—evidence that one had previously engaged in a broadly similar criminal

activity—which “tends to distract the trier of fact from the main question of what

actually happened on the particular occasion.” Fed. R. Evid. 404(a) advisory committee

note. To admit the use of Mr. Fields’s prior murder conviction here would be to




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sanction the use of prior bad acts to prove a criminal, dishonest character in a civil case.

This would erase Rule 404(b).

       Yet 404(b) is not necessary to exclude the prior conviction here; irrelevant

evidence of any kind is made inadmissible by Rules 402 and 403. Under the facts of this

case, the possibility of jury confusion or unfair prejudice to Mr. Fields substantially

outweighs the probative value of this evidence. “Evidence is unfairly prejudicial if it

will induce the jury to decide the case on an improper basis, commonly an emotional

one, rather than on the evidence presented.” United States v. Vretta, 790 F.2d 651, 655

(7th Cir. 1986). Admission of Mr. Fields’s prior conviction would confuse and mislead

the jury as to the main issues they must decide here: whether Defendants coerced

witnesses and manipulated evidence to improperly charge and convict him of the

Smith/Hickman murders.

       Nor is his prior conviction relevant to the issue of damages. That Mr. Fields may

have been rightly imprisoned before does not mean that his unjust imprisonment here

was less traumatizing or painful. See Betts v. City of Chicago, 784 F.Supp. 2d 1020, 1025

(N.D.Ill. 2011); Moore v. City of Chicago, 2008 WL 4549137 *1 (N.D.Ill. Apr. 15, 2008)

(plaintiff’s earlier arrests may not be admitted for damages purposes in false arrest case,

especially where those earlier arrests were not alleged to have been false); Scott v.

Chicago, 724 F.Supp.2d 917, (N.D.Ill. 2010) (rejecting defendants’ attempt to admit

plaintiff’s prior arrests for damages purposes).

       Finally, the 1972 conviction is not admissible under Rule 609(b) for impeachment.

Under Rule 609(b), evidence of convictions that are ten years or older are presumptively




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inadmissible. See U.S. v. Redditt, 381 F.3d 597, 601 (7th Cir. 2004) (“the purpose of Rule

609 is to ensure that convictions over 10 years old will be admitted very rarely and only

in exceptional circumstances.”) Further, Rule 609 expressly incorporates the Rule 403

balancing of probative value against prejudice. Fed. R. Evid. 609 (conviction older than

ten years is admissible only if its probative value “supported by specific facts and

circumstances substantially outweighs its prejudicial effect.”). No exceptional

circumstances exist here; nor does the 1972 murder conviction provide any useful

insight into Mr. Fields’s ability to testify truthfully. Thus, using this evidence would be

attacking Mr. Fields’s credibility is as inappropriate as using it to establish propensity—

in either case it must be excluded.

       In short, because there is no logical thread connecting Mr. Fields’s 1972 murder

conviction and his current relief, any reference to this more than forty-year-old

conviction should be excluded under Rule 401, 403, 404, and 609(b).

       b. Evidence of False Alibi.

       Mr. Fields has admitted that during his 1972 murder trial, he put on a false alibi

and testified falsely in support of that alibi defense. Fields was 18 years old at the time

of his trial. There is no permissible purpose under Federal Rule of Evidence 404(b) for

which this prior bad act would be admissible at this trial.

       Further, the defendants should be barred from using Mr. Fields’s prior false

testimony during cross-examination of Fields. Under FRE 608(b)(1), a witness may be

impeached with prior instances of conduct probative of truthfulness or untruthfulness.




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“[T]his type of impeachment may nevertheless be excluded under Rule 403 ....” United

States v. Covelli, 738 F.2d 847, 856 (7th Cir. 1984).

       Here, Fields’s prior false testimony from 1972 has very little probative value on

the issue of his truthfulness or untruthfulness at this trial which is taking place more

than forty years later. Fields was only 18 years old when gave his false testimony. He

is now 60 years old. The fact that Fields was untruthful when he was 18 has little

probative value as to his truthfulness today. Moreover, there is no evidence that Fields’s

decision to give false testimony in 1972 was ever repeated or is indicative of a pattern of

deceptive behavior.

       Despite his false testimony, Fields was convicted of murder in 1972. But his

conviction was reversed on appeal because a prior statement of a witness who

inculpated Fields was improperly used at his trial to impeach the witness. See People v.

Fields, 31 Ill. App. 3d 458, 471, 334 N.E.2d 752 (1st Dist. 1975). Fields was retried in 1977

when he was 23 years old. At the retrial, Fields did not testify and he put on no

evidence. The trial judge, sitting without a jury, found Fields guilty of murder “on the

basis of his accountability for the conduct” of his co-defendant. People v. Fields, 65 Ill.

App. 3d 278, 382 N.E.2d 337 (1st Dist. 1975).

       Therefore, not only is there no evidence that Fields’s false testimony in 1972 is

part of any pattern of deceptive behavior, the record strongly suggests that by the time

Fields had reached the age of 23 (the time of his retrial), he had already matured to the

point that he was unwilling to repeat the poor decision he had made at his first trial.




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For all these reasons, the defendants should not be permitted to impeach Fields with his

prior false testimony from 1972.

       c. Evidence of Plaintiff’s April 1985 Arrest.

       Defendants should be barred from introducing any evidence regarding Fields’s

1985 arrest and subsequent gun charge that was dismissed. On April 28, 1985, Fields

was getting a ride home from doing repair work at one of the El Rukn buildings. The

driver of the car and another passenger stopped and went to a lounge near 71st Street in

Chicago. Fields waited in the car, in the front seat. When Fields exited the car to try to

find out what was taking his ride so long to return, police officers pulled up,

handcuffed Fields, searched the car, and found a gun in the back seat. Fields went to

court, and the charge was dismissed.

       The law is clear: prior arrests that do not result in convictions are inadmissible in

civil rights cases. See Gregory v. Oliver, 2003 WL 1860270, *1 (N.D. Ill. 2003) (“Arrests that

have not led to convictions are classic candidates for exclusion under [Rule] 404(b)”);

Anderson v. Sternes, 243 F.3d 1049, 1054 (7th Cir. 2001) (“The law is clear that a

defendant’s prior arrest record is inadmissible, and while the reference to Anderson’s

past arrest was only indirect, it was still improper.”); Brandon v. Vill. Of Maywood, 179

F.Supp. 2d 847, 853-55 (N.D. Ill. 2001) (carefully considering and rejecting arguments for

admission of arrest record); cf. Earl v. Denny’s, Inc., 2002 WL 31819021, at *8 (N.D. Ill.

Dec. 13, 2002) (“[a] jury may deny plaintiff a verdict and an award, not because it

doubts its veracity, but because it is appalled by his prior conduct that has nothing to




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do with the events in question. That is precisely the kind of unfair prejudice that Rule

403 seeks to prevent.”).

       Any evidence regarding this prior arrest or any events surrounding the arrest are

not relevant to the issues in this case and is not admissible under Rule 403 and 404. The

potential prejudice of this evidence far outweighs any probative value it might provide.

3.     To Bar References to the Criminal Activity and History of the El Rukns

       References to gang membership are generally inadmissible in §1983 cases

because of the extreme danger of undue prejudice associated with this highly

inflammatory evidence. In short, the core issue at this trial is whether the Defendants

violated Mr. Fields’s constitutional rights at his criminal trials by obtaining bogus

witness testimony and withholding these and other exculpatory details and materials.

       The Seventh Circuit has repeatedly stressed “the insidious quality” of evidence

of gang membership as well as “the damage it can do.” United States v. Sargent, 98 F.3d

325, 328 (7th Cir. 1996). Evidence of gang membership is inflammatory and highly

prejudicial. See United States v. Montgomery, 390 F.3d 1013, 1018 (7th Cir. 2004). It may

lead the jury to “attach a propensity for committing crimes to [those] who are affiliated

with gangs,” and so “[g]uilt by association is a genuine concern whenever gang

evidence is admitted.” Id. at 1018 (quoting United States v. Irvin, 87 F.3d 860, 865 (7th

Cir. 2004).   Because of this “substantial risk of unfair prejudice attached to gang

affiliation evidence,” courts must closely scrutinize its admissibility. Irvin, 87 F.3d at

865.




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       Applying this case law, courts in this district frequently bar references to gangs

in Section 1983 cases. See Charles v. Cotter, 867 F. Supp. 648, 657-58 (N.D. Ill. 1994)

(finding that evidence of plaintiff’s gang affiliation “is unfairly prejudicial insofar as it

encourages the inference that [he] is an evil and menacing person“ and that this

“prejudicial effect of [his] gang affiliation substantially outweighs its probative value”);

Finley v. Lindsay, 199 WL 608706, at *1-*2 (N.D. Ill. Aug. 5, 1999); Lopez v. City of Chicago,

2005 WL 563212, at *5 (N.D. Ill. Oct. 9, 2001) (excluding gang references as “enormously

and unfairly prejudicial” under Rule 403); Brown v. Joswiak, 2004 WL 407001, at *1 (N.D.

Ill Feb. 24, 2004) (barring without objection all references to “evidence or testimony

concerning the gang affiliation or tattoos of [plaintiff] or his witnesses”). In each of

those cases, the court properly held that gang evidence was too inflammatory and

unfairly prejudicial.

       This case warrants a similar conclusion. The criminal acts, structure, and history

of the El Rukns have little probative value here, yet pose a serious threat of unfair

prejudice. When the relevant murders occurred nearly thirty years ago, it is true that

some of the witnesses in the case were members of El Rukns. This includes Mr. Fields.

And while this may have motivated the Defendants to fabricate and withhold evidence

at Mr. Fields’s criminal trial, their motivations for this illegal behavior are irrelevant.

Therefore, any reference to the El Rukns at trial should be limited to only the evidence

that is absolutely necessary for the jury to fairly consider the relevant issues of

Defendants’ liability here.




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       At the motions conference, however, Defendants’ counsel stated their position

that evidence of the El Rukns’ history and criminal activity, as well as Mr. Fields’s prior

affiliation with the gang, is a “huge part of this case.” In addition to testimony

regarding the general insidiousness of the El Rukns—evidence unrelated to Mr. Fields

beyond his general association with them thirty years ago—Defendants seek to

introduce evidence alleging that the El Rukns’ alleged drug trafficking, witness

intimidation, bribery, extortion, violence, weapons trafficking, racketeering, terrorism,

and more. None of it is admissible here.

       In sum, the bulk of this evidence supports a cynical attempt to justify the alleged

constitutional violations with reference to the alleged evils of the El Rukns. Should the

Defendants be allowed to pursue this strategy, the prejudicial effect of this evidence

would be incurable.      Therefore, this Court should bar any and all unnecessary

references to street gangs as well as the specific evidence discussed above.

4.     To Bar Irrelevant and Prejudicial Evidence of the Maloney Bribe.

       While the fact that Fields’s co-defendant and/or his lawyer attempted to bribe

Judge Maloney is not in dispute, the details of the bribe, which the Defendants seek to

introduce through voluminous wiretap evidence and extensive witness testimony, is

irrelevant and should be excluded.

       Mr. Fields does not contest the admissibility of some evidence involving the

bribe: (1) during his initial trial for the Smith/Hickman murders his codefendant’s

lawyer, William Swano attempted to bribe Judge Maloney via an intermediary, Bob

McGee; (2) Fields had no knowledge of the bribe until Judge Maloney was later indicted




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for it; (3) FBI surveillance of Maloney, coupled with the strength of the State’s case,

prompted Maloney to return the bribe; (4) the prosecution knew of the bribe attempt at

or near the time of the trial; (5) Maloney subsequently found Fields and Hawkins guilty

and sentenced them to death; and (5) Fields’s conviction was overturned and he was

granted a new trial after evidence of the bribe came to light. However, any additional

evidence of the bribe has no probative value here, and its potential prejudice—namely,

jury confusion and waste of time—outweighs any probative value it may have in

explaining the reasons for overturning Fields’s initial conviction.

       The Defendants’ disclosures indicate that they intend to introduce four “expert”

witnesses to support and “translate” recordings, transcripts, and “translations” of Title

III wiretaps produced (Plaintiff assumes, as no chain of custody for these wiretaps has

been disclosed here) in the course of the FBI surveillance of Judge Maloney.

       For this evidence to have any probative value at all, it would have to support the

argument that the bribe was the but-for cause of Mr. Fields’s conviction. This argument

is misguided.    There is no evidence to support the argument that Judge Maloney

decided to convict Nathson Fields because Earl Hawkins’s lawyer attempted to bribe

him. The only relevant evidence is that Swano attempted to bribe Maloney through

McGee, McGee initially accepted the bribe, and then returned the bribe, indicating that

Maloney believed that the State’s case was too strong for him to follow through with the

scheme. If anything, this evidence tends to support the inference that Maloney decided

to convict despite the bribe, not because of it. Thus, if the events surrounding the bribe

have probative value at all, it would be to show that the strength of the prosecution’s




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case—not the bribe itself—caused the conviction. Simply because Maloney’s decision to

convict may have occurred around the same time that he decided to return the bribe

does not indicate that the bribe caused the conviction in any way; rather, it tends to

support the opposite conclusion.

       Yet however useful this evidence might be in supporting Fields’s claim that the

Defendants’ civil rights violations caused his conviction, the events surrounding the

bribe are extremely prejudicial. This risk of prejudice outweighs any probative value it

might have; thus, this Court should exclude it. First, the evidence risks unfair prejudice:

it may lead the jury to decide, on a purely emotional basis, that the harm to Mr. Fields

was somehow justified by the illegal acts of his codefendant’s lawyer.          More, the

evidence risks confusing the issue of causation with the already complex issue of

materiality under Brady.    The risk confusion and bias will be even greater if the

causation issue is perceived to turn on, say, whether the Defendants due process

violations prevented Hawkins and Swano from successfully bribing Maloney.

Unpalatable, indeed. Finally, determining extent to which this evidence supports or

damages either parties’ theory of causation will require an extensive inquiry into the

events surrounding the bribe. This inquiry is a waste of time. See generally Jones v.

Hamelman, 869 F.2d 1023, 1027 (7th Cir. 1988) (Rule 403 applies to evidence that risks a

“trial within a trial” that would waste time, confuse the issues, and have only slight

probative value).

       But even more troubling, Defendants’ seek to introduce evidence that has even

less probative value and even more prejudicial effect—namely, evidence (1) to suggest




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that Fields had some hand in the bribe, and (2) to sneak in irrelevant and highly

prejudicial evidence of the El Rukns’ prior bad acts.

       First, evidence of Fields’s involvement with the bribe is tenuous at best. But this

theory of Fields’s hand in the bribe is not new, and a brief sketch of its development

over the previous thirteen years is useful to understanding how little probative value it

provides.   During Mr. Fields’s retrial, the trial court denied the bribery evidence

because there was no testimony linking Mr. Fields to the bribe, and the appellate court

affirmed. See People v. Hawkins, 326 Ill.App.3d 992, 998-999 (2001) (first interlocutory

appeal). Hawkins, however, was not so fortunate; the appellate court held that the

evidence of his involvement was admissible. Id. at 995-998. So, Hawkins entered into a

plea agreement; he agreed to testify that he had discussed the details of the bribe with

Mr. Fields and their lawyers; and the prosecution dropped the murder charges against

him. See People v. Fields, 357 Ill.App.3d 780 (2005). After this deal, the State renewed its

motion to admit bribery evidence; the trial court denied it; and the appellate court

affirmed. See Id.

       Now the Defendants ride the same weary argument, claiming that any such

evidence—however tenuous or speculative—is relevant to demonstrate Mr. Fields’s

consciousness of guilt. Their efforts should fail. To defend the tangential issue of his

involvement in the bribe, Fields would have to put on a host of immaterial evidence

simply to convince the jury that he was not personally responsible for the bribe. But to

do so here would require a “trial within a trial” concerning his alleged involvement in a

bribery scheme that is relevant—if at all—to the very limited issue of causation. See




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Jones, 869 F.2d at 1027 (excluding evidence that risks a “trial within a trial” and has only

slight probative value). And even if relevant, probity of this evidence supports only

Fields’s claims regarding causation—not Defendants’.         Thus, the scant evidence of

Fields’s alleged involvement with the bribe is not enough to outweigh its extreme

prejudicial effect.

       Moreover, the Defendants seek to stretch this “trial within a trial” to include the

full scope of the El Rukns’ attempted bribe of Judge Maloney. The Defendants’ Rule

26(a)(2)(A) disclosures list Trammell Davis, Derrick Kees, Earl Hawkins, and Jackie

Clay as “expert” witnesses to support the “admissibility of the Title III wiretaps…bates

stamped 1 through 440,” to act as “El Rukn code” translators, and to identify voices on

the wiretaps. See Exhibit C. At best, their testimony purports to be an irrelevant rehash

of the evidence from U.S. v. Maloney and Fields’s post-conviction proceedings in their

entirety. At worst, it seeks to conflate the character and prior acts of the entire El Rukn

street gang with those of Mr. Fields.

       In sum, the probative value of the evidence described above is outweighed by its

extremely prejudicial effect; therefore, this Court should limit introduction of any

evidence of the bribe to the limited circumstances described at the outset of this section.

5.     To Bar Evidence Regarding Certain Legal Actions filed by Plaintiff or
       Potential Witnesses.

       While in prison, Mr. Fields filed several lawsuits regarding prison conditions.

Neither the City of Chicago nor any of the police officer Defendants were parties to any

of this prior litigation. Therefore, any evidence offered on this subject would have no

probative value in this matter and would be solely offered to insinuate that Mr. Fields



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was overly litigious. The prejudice this evidence presents substantially outweighs any

alleged probative value; thus, this Court should bar it under Rule 403 and 404.

6.        To Bar Any Argument that Plaintiff Threatened Any Witness in this Case or
          Others.

          Defendants have listed several witnesses who have alleged intimidation by El

Rukns, but not involving Mr. Fields. Defendants have not presented any evidence to

suggest that Fields was even aware of any alleged intimidation, and cannot make

arguments not supported by the evidence. Absent evidence to support this allegation,

Defendants should be barred from making insinuations that Mr. Fields threatened any

witness in this or any other case.

7.        To Bar References to Disciplinary Infractions Received by Plaintiff While
          Incarcerated.

          Mr. Fields’s Illinois Department of Corrections records show that he received

various disciplinary infractions during his incarceration. None of these administrative

dispositions are relevant at trial.   Even if they were probative here, the resulting

prejudice would far outweigh any probative value, and so they should be barred.

          WHEREFORE, based on the foregoing, Plaintiff Nathson Fields respectfully

requests respectfully requests that this Court enter an order granting his motions in

limine.




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                                     Respectfully submitted,


                                     /s Melissa A. Matuzak
                                     MELISSA A. MATUZAK

Leonard C. Goodman
Melissa A. Matuzak
Andrew D. Finke
53 W. Jackson Blvd., Suite 1650
Chicago, IL 60604
312-986-1984

H. Candace Gorman
220 S. Halsted, Suite 200
Chicago, IL 60661
312-427-2313




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                              CERTIFICATE OF SERVICE

   I, MELISSA A. MATUZAK, certify that in accordance with FED. R. CRIM. P. 49,
LR5.5, and the General Order on Electronic Case Filing (ECF), CORRECTED Plaintiff’s
Proposed Motions in limine, was served pursuant to the district court’s ECF system as
to ECF filers, on February 21, 2014, and if any, were sent by first-class mail or by hand
deliver to non-ECF filers.

                                                        s/ Melissa A. Matuzak



Melissa A. Matuzak
53 West Jackson Boulevard
Suite 1650
Chicago, Illinois 60604
(312) 986-1984




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